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                          IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE

 SAMSUNG ELECTRONICS CO., LTD.              )
 AND SAMSUNG SEMICONDUCTOR,                 )
 INC.                                       )
                                            )
            Plaintiffs,                     )
                                            )
       v.                                   ) C.A. No. 21-1453-RGA
                                            )
 NETLIST, INC.,                             )
                                            )
            Defendant.                      )


           REPLY BRIEF IN SUPPORT OF NETLIST, INC.’S MOTION
        TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT (D.I. 14)




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          Time Warner Cable, Inc. v. USA Video Tech. Corp., 520 F. Supp. 2d 579, 587 (D. Del.

2007)—a case Samsung commends to this Court—states it succinctly: “[C]ourts are burdened by

the cases they must take on and ‘should therefore not be called upon to duplicate each other’s work

in cases involving the same issues.’” Samsung’s action throws this principle in the wastebin.

          Counts I-III relate to the patents referenced in a letter related to the JDLA 1 termination

process: the ’523, ’595 and ’218 patents. Samsung uses these improper declaratory judgment

claims as a hook for Count XII, in which it pleads license rights that allegedly survive Netlist’s

termination of the JDLA. Judge Scarsi is in the best position to determine whether the license

termination correspondence creates jurisdiction and whether any claim for license survives his

express rulings that Samsung waived all affirmative defenses to this termination.

          Count IV relates to the ’912 patent. Chief Judge Seeborg has already heard extensive oral

argument on the identical issues Samsung is presenting to this Court. Netlist, Inc. v. Google LLC,

No. 09-cv-5718, D.I. 254 (N.D. Cal. Mar. 3, 2022). Samsung does not claim there are any

additional product designs subject to Count IV beyond those it allegedly supplies to Google.

          Counts V-VII relate to the Texas Patents. This Court lacks jurisdiction over these claims.

Further, under 28 U.S.C. § 1400(b), as between the Central District, Delaware, and Texas, an

action against all Samsung entities for patent infringement can only practically proceed in Texas.

I.        Counts I-III Non-Infringement of the ’523, ’595 and ’218 Patents Should be Dismissed

          With respect to the ’523, ’595, and ’218 patents, Samsung relies solely on a letter sent 17

months ago which it conspicuously did not file with this Court. D.I. 27 at 12 (citing FAC ¶¶ 30–

31). Importantly, Samsung does not dispute that the letter solely invited Samsung to engage in

“formal licensing discussions.” D.I. 25 at 12. The facts of 3M Co. v. Avery Dennison Corp., cited



1
    All abbreviations used herein are defined in Netlist’s Opening Brief (D.I. 25).
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by Samsung, show why it has not sufficiently plead immediacy. 673 F.3d 1372, 1376 (Fed. Cir.

2012). The Federal Circuit emphasized that “there is no bright line rule to determine whether a

declaratory judgment action satisfies Article III’s case-or-controversy requirements[.]” Id. The

Court noted that a year before suit there was an allegation of infringement as to a particular

product—retroreflective sheeting known as “3M’s Diamond Grade.” Id. at 1375. A year later,

right before it filed suit “3M became aware that Avery planned to launch a competing

retroreflective sheeting product.” Id. 3M then asked “if Avery [would] provide[] 3M with a

covenant not to sue.[] Avery did not respond.[] 3M’s outside litigation counsel also inquired if

Avery planned to sue 3M for infringement of the Heenan patents.[] Avery’s counsel did not answer

3M’s question.” Id. at 1375. This was against a backdrop in which “the parties ha[d] a history of

patent litigation,” including a lawsuit filed by Avery on another 3M product just months before

the declaratory judgment action. Id. at 1375–76. At the time of the original complaint, Netlist had

never filed a patent lawsuit against Samsung.

       In this context, the Federal Circuit made two relevant observations. First, as to the passage

of time, “the relevant circumstances surrounding Avery’s assertion of its patent rights appear to

have remained unchanged during the over one-year period between Avery’s assertion of patent

rights and 3M’s filing of the declaratory judgment complaint.” Id. at 1381. In contrast, Samsung’s

relevant circumstances have changed significantly.       Since the 17-month-old licensing letter

Samsung cites as the basis for jurisdiction, Samsung and Netlist “vigorously litigated” a case in

which Samsung could have sought—but chose not to—a declaration of non-infringement before

Judge Scarsi. D.I. 27 at 12. This included the period after Netlist filed its notice of termination

and after Judge Scarsi affirmed the proper contractual termination on summary judgment while

other claims were still pending before him. During this period, Netlist also litigated these patents



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against and then settled with SK Hynix, and still did not sue Samsung. FAC ¶¶ 13, 39. Moreover,

Samsung’s FAC alleges that the PTAB initiated IPR proceedings on the ’523, ’595, and ’218

patents, which were only terminated because of the SK Hynix settlement, and that Samsung re-

filed petitions before the PTAB on these same patents. Id. ¶ 39. Netlist never communicated again

with Samsung regarding the ’523, ’595, and ’218 patents, and never initiated a lawsuit against

Samsung regarding them—not after the notice of termination, not after Judge Scarsi’s summary

judgment affirming the termination, and not even after Judge Scarsi entered final judgment in

Netlist’s favor on all its claims three weeks ago. The evidence as plead in the FAC makes clear

that Netlist is not threatening an infringement suit against Samsung based on these patents.

       This leads to the second important holding of 3M: the Federal Circuit refused to rule that

the district court “would abuse its discretion if on remand [the district court] declined to exercise

jurisdiction over 3M’s declaratory judgment action, should it determine that such jurisdiction

exists,” recognizing that the facts would need to be developed to assess this issue. 673 F.3d at

1382. The facts here are fully developed and show that Samsung’s filing before this Court was a

litigation tactic to escape Judge Scarsi’s adverse rulings. D.I. 25 at 17–18.

       The suggestion that this motion is an elaborate ruse to shift the dispute regarding the ’523,

’595, and ’218 patents is puffery. If Netlist were to attempt to add these patents to its distinct

Texas Action (it will not), Judge Gilstrap would rightfully refuse to accept them.

II.    The Court Should Dismiss Count IV: Non-Infringement of the ’912 Patent

       With respect to the ’912 patent, Samsung now claims that jurisdiction is not based on

indemnification requests, but is instead based on threats against Samsung products supplied to

Google. D.I. 27 at 13. Samsung has plead itself out of this theory. As the FAC concedes, Netlist

has plead before Chief Judge Seeborg that “Netlist asserted claim 16 against Google’s memory

modules compliant with certain portions of the JEDEC DDR4 standards,” in specific certain
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“DIMMs that comply with certain JEDEC DDR4 standards while operating in PDA mode or

products that operate in a substantially similar manner.” FAC ¶ 41 (emphasis added). Notably,

this is the only response Samsung mustered after seeing Netlist’s original motion to dismiss. This

does not satisfy muster. First, Samsung does not plead in the FAC that its products practice the

PDA function that is at issue in the ’912 patent, claim 16. Second, Netlist makes no reference to

Samsung anywhere in its infringement contentions. Indeed, this would be an impossibility,

because Netlist served its claim 16 infringement contentions before Google identified its products

or their source and design. Netlist, Inc. v. Google LLC, No. 09-cv-5718, D.I. 181 at 10 (N.D. Cal.

Aug. 27, 2021) (“[Netlist] prepared and served infringement allegations against those [DDR4]

products prior to receiving any such discovery.”). Third, Samsung does not plead that there are

any product designs beyond the ones it allegedly provides to Google that it is concerned about.

       Simply put, the infringement contentions before Chief Judge Seeborg do not make any

reference to Samsung. In contrast, Samsung only relies on cases in which courts allowed a

manufacturer to use threats against a customer as a basis for jurisdiction when the threats were

based explicitly on products from that particular manufacturer. See Microsoft Corp. v. DataTern,

Inc., 755 F.3d 899, 905 (Fed. Cir. 2014) (charts provided to SAP’s customers “cite to SAP-

provided user guides and documentation for each claim element”); Arris Grp., Inc. v. British

Telecomms. PLC, 639 F.3d 1368, 1376–77 (Fed. Cir. 2011) (defendant’s presentation to plaintiff

“explicitly and repeatedly singled out Arris’ products used in Cable One’s network to support its

infringement contentions”); In re Mobile Telecomm. Techs., LLC, 247 F. Supp. 3d 456, 461–62

(D. Del. 2017) (assertions against customers “expressly identify [declaratory judgment plaintiffs’]

products as ‘examples’ of equipment that directly infringe the asserted patents”); Intel Corp. v.

Future Link Sys., LLC, No. 14-cv-377, 2015 WL 649294, at *7–8 (D. Del. Feb. 12, 2015) (the



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patentee has accused customers of infringement based “solely” on the use and sale of the

manufacturer’s components). Samsung’s sole option is to intervene in the Google Action because

it cannot plead an independent basis for jurisdiction in Delaware. DataTern, 755 F.3d at 904.

        Netlist’s assertion of the ’912 patent against Inphi—in a case also before Judge Scarsi that

Samsung did not seek to join and which has now been dismissed without prejudice—and Google

does not create jurisdiction here: “the fact that [a patent holder] had filed infringement suits against

other parties for other products does not, in the absence of any act directed toward [the declaratory

judgment plaintiff], meet the minimum standard discussed in MedImmune.” Innovative Therapies,

Inc. v. Kinetic Concepts, Inc., 599 F.3d 1377, 1382 (Fed. Cir. 2010).               Netlist has never

communicated with Samsung about the ’912 patent.

        Finally, Samsung’s representation that its subversion of Chief Judge Seeborg is justified

by Spread Spectrum Screening LLC v. Eastman Kodak Co., 657 F.3d 1349 (Fed. Cir. 2011) has

no connection to reality. In that case, Kodak, the putative manufacturer, did not run to another

court for relief, but brought a counterclaim in the same action involving its customers, such that

the judge that first had jurisdiction could make a reasoned determination of how to proceed. Id. at

1352. This is the exact opposite of Samsung’s behavior here. Spread Spectrum also holds that

“the guiding principles in the customer suit exception cases are efficiency and judicial economy.”

Id. at 1357. Allowing Samsung’s action would destroy both. The ’912 action against Google has

been pending for more than a decade. Chief Judge Seeborg has held extensive oral arguments on

motions for summary judgment on intervening rights, including on claim 16, the claim that is the

subject of Samsung’s allegation. FAC ¶ 178. He also held extensive oral argument on the same

inequitable conduct claim Google attempted to add, and that Samsung presents in Count X.

Compare FAC ¶¶ 370–403 with Netlist, Inc. v. Google LLC, No. 09-cv-5718, D.I. 206-2 ¶¶ 17–34



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(N.D. Cal Sept. 17, 2021). Efficiency and judicial economy weigh entirely in favor of dismissal.

III.   There is No Subject Matter Jurisdiction over the Texas Patents

       Netlist filed the Texas Action on December 20, 2021, two months after Samsung filed its

original complaint. This Court lacked jurisdiction over the Texas Patents as of the time of the

original complaint, at which time Netlist had never asserted the Texas Patents against Samsung.

See generally D.I. 25 at 14–15. Samsung’s Opposition does not even attempt to argue this Court

had jurisdiction over the Texas Patents before Netlist filed its Texas Action.

       Instead, Samsung argues that there is no requirement that declaratory judgment jurisdiction

be analyzed based on facts at the time of the original complaint. Nonsense. The cases Samsung

cites hold the exact opposite. Rockwell Int’l Corp. v. United States affirms the “rule that subject-

matter jurisdiction depends on the state of things at the time of the action brought.” 549 U.S. 457,

473 (2007). In Rockwell, the Supreme Court “look[ed] to the amended complaint to determine

jurisdiction” but only analyzed the allegations in the amended complaint as they related to the state

of facts at the time the original complaint was filed—not to facts arising after the original

complaint. Id. at 473–74. The Court explained that “[t]he state of things and the originally alleged

state of things are not synonymous.” Id. at 473. Samsung, via its FAC, had the opportunity to add

additional allegations as to the state of facts at the time of the original complaint was filed to

support its argument that this Court had jurisdiction over the Texas Patents as of the date of the

original complaint. Samsung could muster none. Samsung also miscites Lannett Co. v. KV

Pharm., 2009 WL 10737496, at *3–4 (D. Del. Feb. 4, 2009). In Lannett, the declaratory judgment

plaintiff attempted to rely on events arising after the filing of the original complaint—in particular

that the patentee brought counterclaims of infringement on the patents-at-issue—to assert that

there was declaratory judgment jurisdiction. The judge rejected this argument: “I disagree with

Lannett’s argument that . . . there is a live controversy between the parties because KV had asserted
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counterclaims by the time that it filed the Second Amended Complaint.” Id. at *4 n.2.

       Innovative Therapies is instructive. The patent owners sued for patent infringement in

another jurisdiction after the filing of a declaratory judgment action of non-infringement, and the

declaratory judgment plaintiff argued that this created subject matter jurisdiction over the

declaratory judgement action. 599 F.3d at 1383–84. The Federal Circuit rejected this argument:

“[U]nless there was jurisdiction at the filing of the original complaint, jurisdiction could not be

carried back to the date of the original pleading.” Id. at 1384; see also GAF Bldg. Materials Corp.

v. Elk Corp. of Dallas, 90 F.3d 479, 483 (Fed. Cir. 1996) (“[L]ater events may not create

jurisdiction where none existed at the time of filing.”) (citation omitted).

       Samsung’s citation to Intel Corp. v. AmberWave Sys. Corp., 233 F.R.D. 416 (D. Del. 2005)

highlights exactly why Samsung’s behavior is inappropriate here. There, Intel filed a declaratory

judgment action regarding an issued patent. Id. at 417. In its original complaint, Intel stated that

it wished to reserve “all rights to amend this Complaint to seek a declaratory judgment of

noninfringement of the patents that issue from the ’947 and ’499 Applications.” Id. AmberWave

did not move to dismiss for lack of subject matter jurisdiction. Indeed, Intel’s request was

reasonable because it had been put on notice that it infringed the allowed claims in those

applications at the time of the original suit. Id. at 416–17. After filing the original complaint, two

events occurred. First, AmberWave filed a patent infringement suit in the Eastern District of Texas

on a patent in a different family from the patents and applications referenced in Intel’s complaint—

the ’632 patent. Id. at 417. Intel did not attempt to strip the Eastern District judge of his authority

to decide the disposition of the patent. Intel took the proper step of filing a motion to transfer to

Delaware, which was granted by the Eastern District. Id. When one of the patents from the

allowed applications referenced in the original declaratory judgment complaint issued, the



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Delaware Court allowed a supplemental pleading adding the newly issued patent under Rule 15(d)

under the unique facts presented, where jurisdiction already existed and where a related case had

been transferred to this court from the Eastern District of Texas. Id. at 417–19.

IV.    The Court Should Use Its Discretion to Dismiss the Complaint

       A.      Samsung’s Complaint Interferes with Judge Scarsi’s Authority

       Judge Scarsi ruled that Samsung materially breached the JDLA, and that Netlist properly

terminated the JDLA. D.I. 21-3, at 20–21; D.I. 25-2, at 2. In that case, Samsung did not argue it

maintained residual license rights as a result of JEDEC policy. To the contrary, Judge Scarsi ruled

that Samsung waived all its affirmative defenses. Netlist, Inc. v. Samsung Elec. Co., Ltd., No. 20-

cv-933, D.I. 243, at 3 n.3 (C.D. Cal. Nov. 17, 2021) (“The Court deems any other affirmative

defenses abandoned.”); id. at 6 (“The Court deems Samsung’s acquiescence, estoppel and waiver

affirmative defenses abandoned.”). Samsung ignores the argument that license is a compulsory

affirmative defense. Fed. R. Civ. R. 8(c). And Samsung ignores the arguments that its claim that

JEDEC policy preserves license rights in Netlist’s patents after termination was a compulsory

affirmative defense. D.I. 25 at 17–18. Samsung claims it is not attempting to run away from Judge

Scarsi, but if that is so, Samsung can refile in front of Judge Scarsi.

       B.      Samsung’s Complaint Interferes with Chief Judge Seeborg’s Authority

       As noted above, Chief Judge Seeborg is deciding a matter that is more than a decade old

on a fully briefed set of motions touching on the identical issues Samsung is presenting here.

       C.      Only a Texas Court Can Resolve All Claims Relating to the Texas Patents

       Samsung does not dispute that Texas is the only forum in which Netlist can bring its claims

against SEC, SSI, and SEA. Id. at 18–19. Samsung does not dispute that Texas is the only location

in the United States where it manufacturers semiconductors. Id. at 19. Samsung relies on a self-

serving hearsay declaration claiming it never “designs” and no longer “manufacturers” memory

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modules in the United States. D.I. 23 ¶¶ 8, 9, 10. The declaration says nothing about where it

conducts research and development, where it sells its memory modules, nor where it tests its

memory modules. Id.

       Samsung’s claim that this Court can shield SEA from liability based on the “customer suit”

exception is unsupported. D.I. 27 at 18–19. Not a single case cited by Samsung involves staying

a case as to one affiliate in favor of another affiliate when both are infringers. Samsung’s strategy

is to limit its damages liability by keeping SEA out of the proceedings, hoping to hide the benefit

generated by SEA’s infringing use. The Federal Circuit holds that benefits from use, not just

transfer pricing, are a proper basis of damages. Monsanto Co. v. McFarling, 488 F.3d 973 (Fed.

Cir. 2007) is on point. In that case, the Federal Circuit refused to cap the defendant’s damages at

the transfer price charged for the infringing seeds, because it would ignore the benefits that the

infringer obtained from the use of the infringing seeds: “In determining the amount of a reasonable

royalty [for infringement damages], it was proper for the jury to consider . . . the benefits that

[patentee]’s technology conferred on farmers such as [the defendant].” Id. at 980–81. In this case,

the benefits from the use of the infringing modules in the United States are generated by SEA.

       As noted below, the first-filed court as to the Texas Patents is Texas. But even if it was

not, the fact that SEA cannot be sued in Delaware is dispositive. This is because the first-filed rule

is a prudential doctrine designed to achieve efficiency. The Texas Action brings claims against

SEA, SEC and SSI. D.I. 25 at 18–19. Under Fifth Circuit precedent (which governs that case),

an affiliate is a necessary party if it “emerges as an active participant in the alleged conversion.”

Freeman v. Nw. Acceptance Corp., 754 F.2d 553, 559 (5th Cir. 1985). Netlist pleads in the Texas

Action that SEA is committing acts of infringement. D.I. 21-2 ¶ 7 (Netlist’s Complaint). Samsung

does not deny this. The Texas Action should proceed so that complete relief can be granted.



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       Merial Ltd. v. Cipla Ltd., 681 F.3d 1283 (Fed. Cir. 2012), cited by Samsung, supports

dismissal because of the absence of SEA. The Federal Circuit noted that, regardless of what case

is first-filed, an action should not proceed in a forum if “a key party [one of the Defendants] was

absent from the Delaware action.” Id. at 1299.

       D.      The Delaware Action Is Not the First-Filed Action

       Samsung claims that as to any lawsuit ever filed between Samsung and Netlist, the first-

filed action is this one in the District of Delaware regardless of whether the subsequent suit “relates

back” to the FAC as the Federal Circuit defines the standard. Dkt. 27 at 12. Under Samsung’s

standard, the first-filed action is the case before Judge Scarsi in the Central District. The only

coercive claim present in the FAC—for breach of contract—makes extensive reference to the

proceedings before Judge Scarsi and claims that they serve as a premise for the claim:

       In ongoing litigation, Netlist and Samsung dispute whether Samsung has a license to
       Netlist’s patents, including the Patents-in-Suit, under the [JDLA]. FAC ¶ 448.

       Netlist continues to have an obligation to license its SEPs to Samsung on RAND terms,
       notwithstanding any breach of the [JDLA] or any termination of the license. . . . Id. ¶ 440.

       In reality, the teaching of Anza Tech., Inc. v. Mushkin, Inc., 934 F.3d 1359 (Fed. Cir. 2019)

makes clear that the allegations in the FAC as to the Texas Patents do not relate back to the original

complaint. D.I. 25 at 20–23. Indeed, under Samsung’s theory its original complaint would sweep

in every patent that Netlist ever obtains relating to memory modules. But there is a more basic,

commonsense issue before this Court. Because of the patent venue statute, Texas is the only

location among the three venues (Central District, Delaware, Texas) in which all of SEA, SEC and

SSI can be properly sued for patent infringement and not be subject to transfer scrutiny.

V.     Conclusion

       For the foregoing reasons, Netlist respectfully request that the Court dismiss the FAC.



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